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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ART ASK AGENCY,                 )
                                )
           Plaintiff,           )                         Case No. 24-cv-5375
                                )
      v.                        )                         Judge Andrea R. Wood
                                )
THE INDIVIDUALS, CORPORATIONS, )
LIMITED LIABILITY COMPANIES,    )
PARTNERSHIPS, AND               )
UNINCORPORATED ASSOCIATIONS )
IDENTIFIED ON SCHEDULE A HERETO )
                                )
           Defendants.          )

   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS
        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff ART ASK AGENCY
hereby dismisses with prejudice all causes of action in the complaint as to the Defendants identified
below and in Schedule A. No motions are pending relative to these Defendants. Each party shall bear its
own attorney's fees and costs.
        No.     Defendant
        75      A1WZOAKE9HZM8
        243     101269178

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                                  Respectfully submitted,
Dated: June 2, 2025
                                                  By:     s/Michael A. Hierl
                                                          Michael A. Hierl (Bar No. 3128021)
                                                          William B. Kalbac (Bar No. 6301771)
                                                          Robert P. McMurray (Bar No. 6324332)
                                                          John Wilson (Bar No. 6341294)
                                                          Hughes Socol Piers Resnick & Dym, Ltd.
                                                          Three First National Plaza
                                                          70 W. Madison Street, Suite 4000
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                                                          Attorneys for Plaintiff
                                                          ART ASK AGENCY
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on June 2, 2025.



                                                          s/Michael A. Hierl
